                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                  3:05-CR-294-2

UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
            v.                      )                                 ORDER
                                    )
BOBBY LARUE THOMPSON,               )
                                    )
            Defendant.              )
____________________________________)


       THIS MATTER comes before the Court on the Government’s Pre-Sentence Investigation

Report and Recommendation [D.I.s 240 and 241] and the Defendant’s Sentencing Memorandum

[D.I. 258]. For the reasons laid out below, the Court rejects the Government’s recommendation

of a sentence of life. A sentencing hearing was held on October 19, 2010. The Court announced

the Defendant’s sentence, supervised release terms and special assessments in open court.

I. Background

       The Defendant was indicted, along with six other individuals, on August 23, 2005 and

charged with conspiracy to distribute and possess with the intent to distribute cocaine base (and

other related counts) in violation of Title 21, United States Code Sections 846 and 841. On

November 15, 2007, a jury found the Defendant guilty of conspiracy to possess with intent to

distribute at least fifty grams of cocaine base and three counts of possession with intent to

distribute cocaine base [D.I. 208].

       The Government seeks a sentencing enhancement – mandatory life imprisonment – based

on the Defendant’s two prior drug offenses. The Government claims these two offenses


                                                 1


       Case 3:05-cr-00294-GCM           Document 262        Filed 10/21/10      Page 1 of 8
constitute “felony drug offenses” under Title 21 United States Code Section 802(44). The

Government invoked the enhancement provisions by filing the appropriate notice of the

enhancement and noting two convictions: an August 15, 2005 conviction in North Carolina for

cocaine possession (a Class I felony under North Carolina law) and an April 10, 1996 conviction

of possession with intent to distribute cocaine (a Class H felony under North Carolina law). The

Defendant was sentenced to four to six months imprisonment, which was suspended for twelve

months’ supervised probation, for the first conviction. Defendant was sentenced to eight to ten

months imprisonment, suspended for thirty months’ supervised probation, for the second

offense.

II. Analysis of Mandatory Life Sentence Enhancement

       A. North Carolina’s Sentencing Scheme

       North Carolina’s sentencing statute employs a structure whereby each felony is assigned

a class level. North Carolina General Statute § 15A-1340.17(c) provides a table of sentences

indexed by the class level of the offense and the defendant’s prior record. The class of the

offense determines the horizontal row in which the defendant is placed, and the defendant’s prior

record decides the appropriate vertical row. Once the offense/prior record placement is made

within the table, there are three sentencing ranges for the defendant, depending on whether there

are mitigating factors, aggravating factors or neither. See N.C. Gen. Stat. § 15A-1340.17(c)

(2010). Once the sentencing court determines the minimum range under Section 15-A 1340

17(c), “N.C. Gen. Stat. § 15A-1340.17(d) dictates the corresponding maximum for that

minimum.” United States v. Jones, 195 F.3d 205, 206 (4th Cir. 1999); N.C. Gen. Stat. § 15A-

1340.17(d).

       Under the sentencing statute, a defendant convicted of a Class H felony with the most

                                                 2


      Case 3:05-cr-00294-GCM           Document 262        Filed 10/21/10      Page 2 of 8
serious of criminal histories could be sentenced to thirty months in prison. A defendant

convicted of a Class I felony with the worst criminal history could be sentenced to fifteen

months in prison. See N.C. Gen. Stat.§ 15A-1340.17. The maximum sentence for this

Defendant based on his history was ten months for the August 15, 2005 conviction and twelve

months for the April 30, 1996 conviction.

       B. The Controlled Substances Act

       The Controlled Substances Act mandates that where a defendant has a prior conviction

for a “felony drug offense” which has become final, the defendant shall be sentenced to a

minimum term of twenty years’ imprisonment (and up to life imprisonment). 21 U.S.C. §

841(b)(1)(A) (2010). A defendant with two or more “felony drug offense” convictions faces a

mandatory life sentence. Id. For purposes of the Controlled Substances Act, a felony drug

offense is defined as an offense (involving certain substances) “punishable by imprisonment for

more than one year under any law of the United States or of a state or foreign country.” 21

U.S.C. § 802(44) (2009). The issue before the Court is whether the Defendant’s prior

convictions constitute “felony drug offenses” and thus whether a mandatory life sentence is

appropriate.

       C. Fourth Circuit Precedent

       The Fourth Circuit examined North Carolina’s sentencing statute in United States v.

Jones in the context of an 18 U.S.C. § 922(g)(1) charge (which imposes firearm restrictions on

those who have been convicted of a crime “punishable by imprisonment for a term exceeding

one year”). 195 F.3d 205 (4th Cir. 1999). In that case, the Fourth Circuit rejected an

individualized analysis under the North Carolina sentencing scheme. The Court reasoned that

the word “punishable” in the statute modifies crime, and is linked to the conduct of the crime

                                                 3


      Case 3:05-cr-00294-GCM           Document 262        Filed 10/21/10      Page 3 of 8
itself and not the individual convicted of the conduct. See id. at 207. Thus, an individual met

the criteria of 18 U.S.C. § 922(g)(1) if the offense statutory maximum exceeded one year,

regardless of the prior criminal record of the individual defendant and if the individual defendant

could not have been statutorily sentenced to more than one year. Id. “Section 922(g)(1) requires

only that the crime be punishable by a term exceeding one year.” Id.

       The Circuit adopted the same rationale in United States v. Harp. 406 F.3d 242 (4th Cir.

2005). In that case, the defendant argued that he did not meet the requirements for designation

as a career offender because his prior offenses did not qualify as controlled substance offenses

under U.S.S.G. § 4B1.1(a). A controlled substance offense must be “punishable by

imprisonment for a term exceeding one year.” U.S.S.G. § 4B1.1(a). The defendant maintained

that the facts of his specific case did not allow the North Carolina courts to issue a sentence in

excess of a year. The Fourth Circuit reiterated its Jones standard and rejected an individualized

analysis of sentences under North Carolina’s sentencing statute. “[A] prior North Carolina

conviction was for a ‘crime punishable by imprisonment for a term exceeding one year’ if any

defendant charged with that crime could receive a sentence of more than one year.” Harp, 406

F.3d at 246 (citing Jones, 195 F.3d at 206-07).

       The Defendant urges this Court to reconsider the Fourth Circuit’s precedent in light of

three recent Supreme Court decisions – United States v. Rodriquez, 553 U.S. 377 (2008),

Carachuri-Rosendo v. Holder, 130 S.Ct. 2577 (2010) and Johnson v. United States, 130 S.Ct.

1265 (2010). The Defendant argues that he as an individual defendant could have faced no more

than a year’s imprisonment for both of his prior offenses, thus he does not meet the requirements

under the Controlled Substances Act for a mandatory life sentence. In light of recent Supreme

Court actions, as well as the rationale in Carachuri-Rosendo, the Court agrees. The Defendant

                                                  4


       Case 3:05-cr-00294-GCM           Document 262         Filed 10/21/10      Page 4 of 8
does not meet the felony drug offense standards and a life sentence is unwarranted.

       D. Recent Supreme Court Developments

       In Carachuri-Rosendo, the Supreme Court considered whether the defendant, who was

convicted of two misdemeanor drug offenses and who had not been charged as a recidivist, had

been convicted of an “aggravated felony” for purposes of the Immigration and Naturalization

Act, 8 U.S.C. § 1101(a)(43). Carachuri-Rosendo v. Holder, 130 S.Ct. 2577 (2010). The Court

rejected the Government’s argument that the defendant had been convicted of an “aggravated

felony” because had the defendant been prosecuted in federal court, he could have been

prosecuted as a felon and received a 2 year sentence based on the fact of his prior simple

possession offense. Carachuri-Rosendo, 130 S.Ct. at 2586. The federal immigration court could

not “ex post, enhance the state offense of record just because facts known to it would have

authorized a greater penalty under either state or federal law.” Id.

       In Rodriguez, the defendant was convicted of unlawful possession of a firearm by a

convicted felon under 18 U.S.C. § 922(g). The defendant had two prior state convictions in

California and three prior state convictions in Washington. United States v. Rodriquez, 553 U.S.

377, 381. The Government requested the defendant be sentenced under the Armed Career

Criminal Act (“ACCA”), which sets a fifteen year minimum sentence when a person violates §

922(g) and has three previous serious drug convictions (defined as a specified offense under

state law “for which a maximum term of imprisonment of ten years or more is prescribed by

law.” 18 U.S.C. § 924(e)(2)(A)(ii) (2000).). Id. The Government argued that at least two of the

Washington state charges were serious drug offenses, because their maximum terms were ten

years, and therefore that these convictions must be counted under the ACCA. Id. at 382. The

Supreme Court agreed and held that the “‘maximum term of imprisonment . . . prescribed by law

                                                 5


       Case 3:05-cr-00294-GCM           Document 262        Filed 10/21/10     Page 5 of 8
for the state drug convictions was the 10-year maximum set by the applicable recidivist

provisions.” Id. at 393.

       In the wake of these two cases, the Supreme Court has consistently vacated and

remanded Fourth Circuit opinions following Jones and Harp and ordered them reconsidered in

light of Carachuri-Rosendo. Summers v. United States, --- S.Ct. ---, 2010 WL 1654043 (Oct. 4,

2010)(No. 09-10329)(mem.); White v. United States, --- S.Ct. ---, 2010 WL 1739323 (Oct. 4,

2010)(No. 09-10491)(mem.); Blackwood v. United States, --- S.Ct. ---, 2010 WL 2300581 (Oct.

4, 2010)(No. 09-11213)(mem.); Watson v. United States, 130 S.Ct. 3455, 78 U.S.L.W. 3742

(U.S. June 21, 2010)(No. 09-8003)(mem.); Simmons v. United States, 130 S.Ct. 3455, 78

U.S.L.W. 3368 (U.S. June 21, 2010)(No. 09-676)(mem.). While acknowledging that Fourth

Circuit precedent on this issue has been clear until these cases were remanded, the Court

understands the Supreme Court to be sending a message to this Circuit that the law has changed.

The Court recognizes Supreme Court orders that grant, vacate and remand do not resolve a case

(see, e.g., United States v. Burnette, 423 F.3d 22 (1st Cir. 2005)), but the number of cases

remanded on such a specific issue necessitates a reexamination of our precedent to date. In light

of these facts, we analyze the instant case in light of Carachuri-Rosendo.1

       E. Defendant’s Criminal History and Sentencing Analysis

       As discussed, a felony drug offense is defined as being “punishable by imprisonment for

more than one year under any law of the United States or of a state or foreign country.” 21


       1
         As the Fourth Circuit has rejected the application of Rodriquez in similar cases and as
the Supreme Court remanded the cases for reconsideration specifically in light of Carachuri-
Rosendo, the Court limits its analysis to that case. The Court recognizes that the Sixth Circuit
has taken a different view of Rodriquez than the Fourth Circuit, which seems to be supported by
the Supreme Court in Carachuri-Rosendo. See United States v. Pruitt, 545 F.3d 416 (2009); see
also Carachuri-Rosendo, 130 S.Ct. at 2578, n. 12.

                                                 6


      Case 3:05-cr-00294-GCM            Document 262        Filed 10/21/10      Page 6 of 8
U.S.C. § 802(44) (2009). In the case of Carachuri-Rosendo, the Government argued that had the

defendant been prosecuted in federal court instead of state court, he could have been prosecuted

as a felon and received a two year sentence. Carachuri-Rosendo v. Holder, 130 S.Ct. 2577, 2582

(2010). The Supreme Court rejected this argument. The Supreme Court found that “[a]lthough

a federal immigration court may have the power to make a recidivist finding in the first instance

(citations omitted), it cannot, ex post, enhance the state offense of record just because facts

known to it would have authorized a greater penalty under either state or federal law.” Id. at

2586. In this vein, the Court discussed Rodriquez and stated that a recidivist finding could only

set the maximum term of imprisonment “when the finding is part of the record of conviction.”

Id. at 2587, n.12. The Supreme Court rejected the notion of a “hypothetical approach” in which

a court focused on factors that “could have but did not serve as the basis for the state conviction

and punishment.” Id. at 2588.

       In this case, the Government asks the Court to take such a “hypothetical approach” and

look not at the facts underlying the Defendant’s case and record, but at a hypothetical defendant

who could have been charged at the highest levels of the North Carolina statute’s range. The

Court finds such an argument unpersuasive in light of Carachuri-Rosendo and the Supreme

Court’s emphasis on an individual analysis in that case. Additionally, the Court does not find

such an individual analysis at odds with the statutory language at issue. The offense that this

Defendant committed is not punishable by more than one year. A North Carolina judge cannot

use his or her discretion to impose a higher sentence; the Government could not have charged

the Defendant in such a way to make the offense he committed punishable by more than a year.

The North Carolina Sentencing Statute reflects a legislative intent to base a defendant’s

sentencing on his or her criminal history; the punishment is tailored to fit the crime of the

                                                  7


       Case 3:05-cr-00294-GCM           Document 262         Filed 10/21/10      Page 7 of 8
individual defendant. As a result, in light of recent Supreme Court actions evincing a change in

the law, the Defendant’s prior North Carolina convictions are not felony drug offenses under the

Controlled Substances Act.



                                                Signed: October 21, 2010




                                                8


      Case 3:05-cr-00294-GCM           Document 262       Filed 10/21/10      Page 8 of 8
